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8                             UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   KAYLA GUTIERREZ, individually and                   Case No.: 20cv2335-MMA-LL
     on behalf of all others similarly situated,
12
                                        Plaintiff,       NOTICE AND ORDER FOR EARLY
13                                                       NEUTRAL EVALUATION
     v.                                                  CONFERENCE AND CASE
14
                                                         MANAGEMENT CONFERENCE
     KARZ PLUS, LLC, a California Limited
15
     Liability Company,
16                                    Defendant.
17
18         IT IS HEREBY ORDERED that a video conference Early Neutral Evaluation
19   (“ENE”) of your case will be held on March 10, 2021 at 10:30 a.m. with the Honorable
20   Linda Lopez, United States Magistrate Judge.
21         The following are mandatory guidelines for the parties preparing for the Early
22   Neutral Evaluation Conference.
23        1.      Purpose of Conference: The purpose of the ENE is to permit an informal
24   discussion between the attorneys and the settlement judge of every aspect of the lawsuit in
25   an effort to achieve an early resolution of the case. All conference discussions will be
26   informal, off the record, privileged, and confidential.      Counsel for any non-English
27   speaking party is responsible for arranging for the appearance of an interpreter at the
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1    conference.
2           2.     Personal Appearance of Parties Required: All parties, adjusters for insured
3    parties, and other representatives of a party having full and complete authority to enter into
4    a binding settlement, and the principal attorneys responsible for the litigation, must be
5    present on the video conference and legally and factually prepared to discuss settlement of
6    the case. Counsel appearing without their clients (whether or not counsel has been given
7    settlement authority) will be cause for immediate imposition of sanctions and may also
8    result in the immediate termination of the conference. Counsel for a government entity is
9    excused from this requirement so long as the government attorney who attends the ENE
10   conference (1) has primary responsibility for handling the case, and (2) may negotiate
11   settlement offers which the attorney is willing to recommend to the government official
12   having ultimate settlement authority.
13           Unless there is good cause, persons required to attend the conference pursuant to this
14   Order shall not be excused from attendance. Motions seeking a waiver of the attendance
15   requirement must establish good cause and be filed at least seven (7) days prior to the
16   conference. Failure to appear at the ENE conference will be grounds for sanctions.
17          3.     Full Settlement Authority Required: In addition to counsel who will try the
18   case, a party or party representative with full settlement authority1 must be present for the
19   conference.     In the case of a corporate entity, an authorized representative of the
20
21
22   1
       “Full settlement authority” means that the individuals at the settlement conference must
23   be authorized to explore settlement options fully and to agree at that time to any settlement
     terms acceptable to the parties. Heileman Brewing Co. v. Joseph Oat Corp., 871 F.2d 648,
24   653 (7th Cir. 1989). The person needs to have “unfettered discretion and authority” to
25   change the settlement position of a party. Pitman v. Brinker Int’l, Inc., 216 F.R.D. 481,
     485-86 (D. Ariz. 2003). The purpose of requiring a person with unlimited settlement
26   authority to attend the conference contemplates that the person's view of the case may be
27   altered during the face to face conference. Id. at 486. A limited or a sum certain of
     authority is not adequate. See Nick v. Morgan’s Foods, Inc., 270 F.3d 590, 595-97 (8th
28   Cir. 2001).
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1    corporation who is not retained outside counsel must be present and must have
2    discretionary authority to commit the company to pay an amount up to the amount of the
3    Plaintiff's prayer (excluding punitive damages prayers). The purpose of this requirement
4    is to have representatives present who can settle the case during the course of the
5    conference without consulting a superior.
6            4.     Confidential ENE Statements Required: On or before March 1, 2021, the
7    parties shall submit via email confidential statements no more than ten (10) pages2 in length
8    directly to the chambers of the Honorable Linda Lopez.3 These confidential statements
9    shall not be filed or served on opposing counsel. Each party's confidential statement
10   must include the following:
11                  a.    A brief description of the case, including a chronology of the relevant
12   facts and a statement of the principal factual disputes;
13                  b.    A brief description of the legal claims, counterclaims, and defenses
14   asserted, and a statement of the principal contested legal disputes, including references to
15   relevant statutes and legal authority;
16                  c.    A specific and current demand or offer for settlement addressing all
17   relief or remedies sought. If a specific demand or offer for settlement cannot be made at
18   the time the brief is submitted, then the reasons therefore must be stated along with a
19   statement as to when the party will be in a position to state a demand or make an offer. A
20   general statement that a party will “negotiate in good faith” is not a specific demand or
21   offer contemplated by this Order. It is assumed that all parties will negotiate in good faith;
22   and
23                  d.    A brief description of any previous settlement negotiations, mediation
24   sessions, or mediation efforts.
25           5.     New Parties Must be Notified by Plaintiff or Plaintiff's Counsel: Plaintiff
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         The parties shall not append attachments or exhibits to the ENE statements.
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         Email to efile_Lopez@casd.uscourts.gov.
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1    or his counsel shall give notice of the ENE to parties responding to the complaint after the
2    date of this notice.
3         6.      Case Management Conference: In the event the case does not settle during
4    the ENE, the Court will conduct an Initial Case Management Conference. In preparation
5    for this conference, the parties must
6                 a.        Meet and confer pursuant to Federal Rule of Civil Procedure 26(f) no
7    later than February 17, 2021.
8                 b.        File a Joint Discovery Plan on the CM/ECF system no later than
9    March 1, 2021. Agreements made in the Joint Discovery Plan will be treated as binding
10   stipulations that are effectively incorporated into the Court’s Case Management Order. The
11   Joint Discovery Plan must be one document and must address each item identified in
12   Federal Rule of Civil Procedure 26(f)(3). In addition, the discovery plan must include:
13                       i.       Service: A statement as to whether any parties remain to be
14   served and, if so, a proposed deadline for service;
15                      ii.       Amendment of Pleadings: The extent to which parties, claims,
16   or defenses are expected to be added or dismissed and a proposed deadline for amending
17   the pleadings;
18                     iii.       Protective Order: Whether a protective order is contemplated
19   to cover the exchange of confidential information and, if so, the date by which the proposed
20   order will be submitted to the Court;
21                     iv.        Privilege: The procedure the parties plan to use regarding claims
22   of privilege and whether an order pursuant to Federal Rule of Evidence 502 will be sought;
23                      v.        Evidence Preservation: Whether the parties have discussed
24   issues related to the preservation of relevant evidence and if there are areas of
25   disagreement, how the parties are resolving them;
26                     vi.        Electronic Discovery: In addition to the requirements set forth
27   in Federal Rule of Civil Procedure 26(f)(3)(C), the parties must describe their agreements
28   regarding methodologies for locating and producing electronically stored information and

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1    the production of metadata, and must identify any issues or agreements regarding
2    electronically     stored   information    that       may   not   be   reasonably     accessible
3    (see Fed. R. Civ. P. 26(b)(2)(B));
4                      vii.      Discovery: In addition to the requirements of Federal Rule of
5    Civil Procedure 26(f)(3)(B), the parties must describe the discovery taken to date (if any),
6    any proposed limitations or modifications of the discovery rules, and any identified
7    discovery disputes;
8                      viii.     Related Cases: Any related cases or proceedings pending before
9    another judge of this court, or before another court or administrative body;
10                      ix.      Scheduling: Proposed dates for fact discovery cutoff, expert
11   designations, expert disclosures, expert discovery cutoff, filing of dispositive motions,
12   filing class certification motion (if class is alleged), pretrial conference and trial;
13                       x.      Professional Conduct: Whether all attorneys of record for the
14   parties have reviewed Civil Local Rule 83.4 on Professionalism; and
15                      xi.      Miscellaneous: Such other matters as may facilitate the just,
16   speedy and inexpensive disposition of this matter.
17                c.       Exchange initial disclosures pursuant to Federal Rules of Civil
18   Procedure 26(a)(1)(A-D) no later than March 3, 2021.
19        7.      Requests to Continue an ENE Conference: Requests to continue ENEs are
20   rarely granted. Parties requesting a continuance shall meet and confer prior to
21   contacting the Court and file a motion and proposed order as set forth in Section IV
22   of Judge Lopez's Chambers Rules. Absent good cause, requests for continuances will
23   not be considered unless submitted in writing no fewer than seven (7) days prior to
24   the scheduled conference.
25        8.      Video Conference Format: To facilitate the video conference format of the
26   ENE and CMC, the Court orders the following:
27                a.       The Court will use its official Zoom video conferencing account to hold
28   the settlement conference. The Zoom software is available on computers through a

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1    download on the Zoom website (https://zoom.us/meetings) or on mobile devices through
2    the installation of a free app (Zoom Cloud Meetings).4 Joining a Zoom conference does not
3    require creating a Zoom account, but it does require downloading the .exe file (if using a
4    computer) or the app (if using a mobile device). Participants are encouraged to create an
5    account, install Zoom, and familiarize themselves with Zoom in advance of the settlement
6    conference.5 There is a cost-free option for creating a Zoom account.
7                  b.    Prior to the start of the settlement conference, the Court will email each
8    participant an invitation to join a Zoom video conference. Participants shall join the video
9    conference by following the ZoomGov Meeting hyperlink in the invitation. Participants
10   who do not have Zoom already installed on their device when they click on the
11   ZoomGov Meeting hyperlink will be prompted to download and install Zoom before
12   proceeding. Zoom may then prompt participants to enter the password included in the
13   invitation. All participants will be placed in a waiting room until the settlement conference
14   begins.
15                 c.    Each participant should plan to join the Zoom video conference at least
16   five minutes before the start of the settlement conference to ensure that the settlement
17   conference begins promptly at 10:30 a.m. The Zoom email invitation may indicate an
18   earlier start time, but the conference will begin at the Court-scheduled time.
19                 d.    The Court will begin the settlement conference with all participants
20   joined together in a main session. After an initial discussion in the main session, the Court
21   will divide participants into separate, confidential sessions, which Zoom calls Breakout
22   Rooms.6 In a Breakout Room, the Court will be able to communicate privately with
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25     Participants should use a device with a camera to fully participate in the video conference.
     If possible, participants are encouraged to use laptops or desktop computers for the video
26   conference, as mobile devices may offer inferior performance.
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27       For help getting started with Zoom, visit: https://support.zoom.us/hc/en-
     us/categories/200101697-Getting-Started .
28   6
       For more information on what to expect when participating in a Zoom Breakout Room,
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1    participants from a single party. Breakout Rooms will also allow parties and counsel to
2    communicate confidentially without the Court.
3                 e.      No later than March 1, 2021, counsel for each party shall send a
4    participants statement to the Court at efile_Lopez @casd.uscourts.gov.7 These statements
5    shall not be filed or served on opposing counsel. The statements must contain the
6    following:
7                        i.     The name and title of each ENE participant, including all
8                               parties and party representatives with full settlement authority,
9                               claims adjusters for insured parties, and the principal attorney(s)
10                              responsible for the litigation;
11                      ii.     An email address for each ENE participant to receive the
12                              Zoom video conference invitation;
13                     iii.     A single telephone number where all ENE participants for
14                              that party may be reached so that if technical difficulties arise,
15                              the Court will be able to proceed telephonically instead of by
16                              video conference. Counsel may provide a conference number
17                              and appropriate call-in information, including an access code,
18                              where all counsel and parties or party representatives for that side
19                              may be reached.
20                f.      All participants shall display the same level of professionalism during
21   the settlement conference and be prepared to devote their full attention to the settlement
22   conference as if they were attending in person. Because Zoom may quickly deplete the
23   battery of a participant’s device, each participant should ensure that their device is plugged
24   in or that a charging cable is readily available during the video conference. Participants
25   should also participate in the conference in a location that allows for privacy and does not
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     visit: https://support.zoom.us/hc/en-us/articles/115005769646.
28   7
       The participants’ information may be included as part of the confidential ENE statement.
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1    contain background noise that will disrupt the conference.
2          IT IS SO ORDERED.
3    Dated: January 25, 2021
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1                        NOTICE OF RIGHT TO CONSENT TO TRIAL
2                   BEFORE A UNITED STATES MAGISTRATE JUDGE
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4          In accordance with the provisions of 28 U.S.C. § 636(c), you are hereby notified that
5    a U.S. Magistrate Judge of this district may, upon the consent of all parties, on Form 1A
6    available in the Clerk's Office, conduct any or all proceedings, including a jury or non-jury
7    trial, and order the entry of a final judgment. Plaintiff or his counsel shall be responsible
8    for obtaining the consent of all parties, should they desire to consent.
9          You should be aware that your decision to consent or not to consent is entirely
10   voluntary and should be communicated solely to the Clerk of Court. Only if all parties
11   consent will the Judge or Magistrate Judge to whom the case has been assigned be informed
12   of your decision.
13         Judgments of U.S. Magistrate Judges are appealable to the U.S. Court of Appeals in
14   accordance with this statute and the Federal Rules of Appellate Procedure.
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